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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

    ERIC JACKSON ET AL.,

         Plaintiffs,

    v.                                              No. 4:22-cv-825-P

    ALEJANDRO N. MAYORKAS, IN HIS
    OFFICIAL CAPACITY AS SECRETARY
    OF HOMELAND SECURITY, ET AL.,

         Defendants.

                                  ORDER
      On September 19, 2022, the Court ordered the Parties to submit a
   Joint Report containing proposed deadlines regarding Plaintiffs’
   Motions for Class Certification, Appointment of Class Counsel, and
   Preliminary Injunction. ECF No. 11. Having reviewed the Parties Joint
   Report (ECF No. 17), the Court ORDERS that Defendants’ Opposition
   to Plaintiffs’ Motions for Class Certification, Appointment of Class
   Counsel, and Preliminary Injunction shall be filed on or before October
   7, 2022, and Plaintiffs’ Reply to Defendants Opposition shall be filed on
   or before October 14, 2022.

         SO ORDERED on this 29th day of September 2022.




                  Mark T. Pittman
                  UNITED STATES DISTRICT JUDGE
